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                                      EXHIBIT A




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                     )
 In re:                                              ) Chapter 11
                                                     )
 YELLOW CORPORATION, et al.,1                        ) Case No. 23-11069 (CTG)
                                                     )
                                Debtors.             ) (Jointly Administered)
                                                     )
                                                     )

          SECOND AMENDED2 INDEX TO FIRST INTERIM FEE APPLICATION
           BINDER IN CONNECTION WITH THE HEARING SCHEDULED ON
                 JANUARY 22, 2024 AT 2:00 P.M. (EASTERN TIME)

INTERIM FEE APPLICATIONS:

1.        First Interim Fee Application Request of KPMG LLP [Filed: 12/12/23] (Docket No.
          1358)

          Response Deadline: January 2, 2024 at 4:00 p.m. (ET).

          Responses Received: None.

          Related Documents:

          A.       Certification of No Objection Regarding First Interim Fee Application Request of
                   KPMG LLP [Filed: 1/8/24] (Docket No. 1688)

          B.       First Combined Monthly Application of KPMG LLP for Providing Audit Services
                   to the Debtors Requesting Allowance of Compensation for Services Rendered and
                   Reimbursement of Expenses Incurred for the Period August 6, 2023 to October
                   31, 2023 [Filed: 11/29/23] (Docket No. 1242)

          C.       Certification of No Objection Regarding First Combined Monthly Application of
                   KPMG LLP for Providing Audit Services to the Debtors Requesting Allowance
                   of Compensation for Services Rendered and Reimbursement of Expenses
                   Incurred for the Period August 6, 2023 to October 31, 2023 [Filed: 1/3/24]
                   (Docket No. 1584)



1 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
  claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal place
  of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
  Overland Park, Kansas 66211.
2 Amended items are in bold.




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         Status: This matter will go forward.

2.       First Quarterly Application for Compensation and Reimbursement of Expenses of
         Pachulski Stang Ziehl & Jones LLP, as Co-Counsel for the Debtors and Debtors in
         Possession, for the Period from August 6, 2023 through October 31, 2023 [Filed:
         12/13/23] (Docket No. 1365)

         Response Deadline: November 6, 2023 at 4:00 p.m. (ET).

         Responses Received: None.

         Related Documents:

         A.        Certification of No Objection Regarding First Quarterly Application for
                   Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones
                   LLP, as Co-Counsel for the Debtors and Debtors in Possession, for the Period
                   from August 1, 2023 through October 31, 2023 [Filed: 1/8/24] (Docket No. 1690)

         B.        First Monthly Application for Compensation and Reimbursement of Expenses of
                   Pachulski Stang Ziehl & Jones LLP, as Co-Counsel for the Debtors and Debtors
                   in Possession, for the Period from August 1, 2023 through August 31, 2023
                   [Filed: 11/20/23] (Docket No. 1184)

         C.        Certification of No Objection Regarding First Monthly Application for
                   Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones
                   LLP, as Co-Counsel for the Debtors and Debtors in Possession, for the Period
                   from August 1, 2023 through August 31, 2023 [Filed: 12/12/23] (Docket No.
                   1359)

         D.        Second Monthly Application for Compensation and Reimbursement of Expenses
                   of Pachulski Stang Ziehl & Jones LLP, as Co-Counsel for the Debtors and
                   Debtors in Possession, for the Period from September 1, 2023 through September
                   30, 2023 [Filed: 11/20/23] (Docket No. 1185)

         E.        Certification of No Objection Regarding Second Monthly Application for
                   Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones
                   LLP, as Co-Counsel for the Debtors and Debtors in Possession, for the Period
                   from September 1, 2023 through September 30, 2023 [Filed: 12/12/23] (Docket
                   No. 1360)

         F.        Third Monthly Application for Compensation and Reimbursement of Expenses of
                   Pachulski Stang Ziehl & Jones LLP, as Co-Counsel for the Debtors and Debtors
                   in Possession, for the Period from October 1, 2023 through October 31, 2023
                   [Filed: 12/11/23] (Docket No. 1335)

         G.        Certification of No Objection Regarding Third Monthly Application for
                   Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones


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                   LLP, as Co-Counsel for the Debtors and Debtors in Possession, for the Period from
                   October 1, 2023 through October 31, 2023 [Filed: 1/8/24] (Docket No. 1689)

         Status: This matter will go forward.

3.       First Interim Fee Application of Alvarez & Marsal North America, LLC for Allowance of
         Compensation and Reimbursement of Expenses for the Period from August 7, 2023 to
         and Including October 31, 2023 [Filed: 12/13/23] (Docket No. 1366)

         Response Deadline: January 3, 2024 at 4:00 p.m. (ET).

         Responses Received: None.

         Related Documents:

         A.        Certification of No Objection Regarding First Interim Fee Application of Alvarez
                   & Marsal North America, LLC for Allowance of Compensation and
                   Reimbursement of Expenses for the Period from August 7, 2023 to and Including
                   October 31, 2023 [Filed: 1/8/24] (Docket No. 1686)

         B.        First Monthly Application of Alvarez & Marsal North America, LLC for
                   Allowance of Compensation and Reimbursement of Expenses for the Period
                   August 7, 2023 to August 31, 2023 [Filed: 9/29/23] (Docket No. 693)

         C.        Certification of No Objection Regarding First Monthly Application of Alvarez &
                   Marsal North America, LLC for Allowance of Compensation and Reimbursement
                   of Expenses for the Period August 7, 2023 to August 31, 2023 [Filed: 10/26/23]
                   (Docket No. 963)

         D.        Second Monthly Application of Alvarez & Marsal North America, LLC for
                   Allowance of Compensation and Reimbursement of Expenses for the Period
                   September 1, 2023 to September 30, 2023 [Filed: 11/13/23] (Docket No. 1132)

         E.        Certification of No Objection Regarding Second Monthly Application of Alvarez
                   & Marsal North America, LLC for Allowance of Compensation and
                   Reimbursement of Expenses for the Period September 1, 2023 to September 30,
                   2023 [Filed: 12/7/23] (Docket No. 1291)

         F.        Third Monthly Application of Alvarez & Marsal North America, LLC for
                   Allowance of Compensation and Reimbursement of Expenses for the Period
                   October 1, 2023 to October 31, 2023 [Filed: 12/12/23] (Docket No. 1343)

         G.        Certification of No Objection Regarding Third Monthly Application of Alvarez &
                   Marsal North America, LLC for Allowance of Compensation and Reimbursement
                   of Expenses for the Period October 1, 2023 to October 31, 2023 [Filed: 1/8/24]
                   (Docket No. 1685)

         Status: This matter will go forward.

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4.       First Interim Fee Application of Ernst & Young LLP as Tax Services Provider to the
         Debtors for Compensation for Professional Services Rendered and Reimbursement of
         Expenses Incurred for the Period August 6, 2023 to October 31, 2023 [Filed: 12/20/23]
         (Docket No. 1401)

         Response Deadline: January 10, 2024 at 4:00 p.m. (ET).

         Responses Received: None.

         Related Documents:

         A.        Certification of No Objection Regarding First Interim Fee Application of Ernst &
                   Young LLP as Tax Services Provider to the Debtors for Compensation for
                   Professional Services Rendered and Reimbursement of Expenses Incurred for the
                   Period August 6, 2023 to October 31, 2023 [Filed: 1/11/24] (Docket No. 1731)

         B.        Combined First Monthly Fee Statement of Ernst & Young LLP as Tax Services
                   Provider to the Debtors for Compensation for Professional Services Rendered and
                   Reimbursement of Expenses Incurred for the Period from August 6, 2023 to and
                   Including September 30, 2023 [Filed: 11/16/23] (Docket No. 1162)

         C.        Certification of No Objection Regarding Combined First Monthly Fee Statement
                   of Ernst & Young LLP as Tax Services Provider to the Debtors for Compensation
                   for Professional Services Rendered and Reimbursement of Expenses Incurred for
                   the Period from August 6, 2023 to and Including September 30, 2023 [Filed:
                   12/12/23] (Docket No. 1361)

         D.        Second Monthly Fee Statement of Ernst & Young LLP as Tax Services Provider
                   to the Debtors for Compensation for Professional Services Rendered and
                   Reimbursement of Expenses Incurred for the Period October 1, 2023 to October
                   31, 2023 [Filed: 12/14/23] (Docket No. 1370)

         E.        Certification of No Objection Regarding Second Monthly Fee Statement of Ernst
                   & Young LLP as Tax Services Provider to the Debtors for Compensation for
                   Professional Services Rendered and Reimbursement of Expenses Incurred for the
                   Period October 1, 2023 to October 31, 2023 [Filed: 1/8/24] (Docket No. 1687)

         Status: This matter will go forward.

5.       First Interim Fee Application of Ducera Partners LLC for Allowance of Compensation
         and Reimbursement of Expenses for the Period from August 6, 2023 Through October
         31, 2023 [Filed: 12/20/23] (Docket No. 1407)

         Response Deadline: January 10, 2024 at 4:00 p.m. (ET).

         Responses Received: Informal comments from the Office of the United States Trustee.



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         Related Documents:

         A.        Certification of No Objection Regarding First Interim Fee Application of Ducera
                   Partners LLC for Allowance of Compensation and Reimbursement of Expenses
                   for the Period from August 6, 2023 Through October 31, 2023 [Filed: 1/17/24]
                   (Docket No. 1802)

         B.        First Monthly Application of Ducera Partners LLC for Allowance of
                   Compensation and Reimbursement of Expenses for the Period from August 6,
                   2023 Through August 31, 2023 [Filed: 10/30/23] (Docket No. 1001)

         C.        Certification of No Objection Regarding First Monthly Application of Ducera
                   Partners LLC for Allowance of Compensation and Reimbursement of Expenses
                   for the Period from August 6, 2023 Through August 31, 2023 [Filed: 11/22/23]
                   (Docket No. 1226)

         D.        Second Monthly Application of Ducera Partners LLC for Allowance of
                   Compensation and Reimbursement of Expenses for the Period from September 1,
                   2023 Through September 30, 2023 [Filed: 11/14/23] (Docket No. 1141)

         E.        Certification of No Objection Regarding Second Monthly Application of Ducera
                   Partners LLC for Allowance of Compensation and Reimbursement of Expenses
                   for the Period from September 1, 2023 Through September 30, 2023 [Filed:
                   12/7/23] (Docket No. 1292)

         F.        Third Monthly Application of Ducera Partners LLC for Allowance of
                   Compensation and Reimbursement of Expenses for the Period from October 1,
                   2023 Through October 31, 2023 [Filed: 12/7/23] (Docket No. 1302)

         G.        Certification of No Objection Regarding Third Monthly Application of Ducera
                   Partners LLC for Allowance of Compensation and Reimbursement of Expenses
                   for the Period from October 1, 2023 Through October 31, 2023 [Filed: 1/8/24]
                   (Docket No. 1684)

         Status: This matter will go forward.

6.       First Interim Fee Application of Akin Gump Strauss Hauer & Feld LLP, as Lead Co-
         Counsel to the Official Committee of Unsecured Creditors of Yellow Corporation, et al.
         for the Period August 18, 2023 to October 31, 2023 [Filed: 12/2/23] (Docket No. 1478)

         Response Deadline: January 12, 2024 at 4:00 p.m. (ET).

         Responses Received: Informal comments from the Office of the United States Trustee.




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         Related Documents:

         A.        Certification of No Counsel Regarding First Interim Fee Application of Akin
                   Gump Strauss Hauer & Feld LLP, as Lead Co-Counsel to the Official Committee
                   of Unsecured Creditors of Yellow Corporation, et al. for the Period August 18,
                   2023 to October 31, 2023 [Filed: 1/19/24] (Docket No. 1830)

         B.        First Monthly Fee Application of Akin Gump Strauss Hauer & Feld LLP, as Lead
                   Co-Counsel to the Official Committee of Unsecured Creditors of Yellow
                   Corporation, et al. for the Period August 18, 2023 to August 31, 20223 [Filed:
                   10/20/23] (Docket No. 889)

         C.        Certificate First Monthly Fee Application of Akin Gump Strauss Hauer & Feld
                   LLP, as Lead Co-Counsel to the Official Committee of Unsecured Creditors of
                   Yellow Corporation, et al. for the Period August 18, 2023 to August 31, 20223
                   [Filed: 11/14/23] (Docket No. 1137)

         D.        Second Monthly Fee Application of Akin Gump Strauss Hauer & Feld LLP, as
                   Lead Co-Counsel to the Official Committee of Unsecured Creditors of Yellow
                   Corporation, et al. for the Period September 1, 2023 to September 30, 2023
                   [Filed: 11/29/23] (Docket No. 1244)

         E.        Certificate of No Objection Regarding Second Monthly Fee Application of Akin
                   Gump Strauss Hauer & Feld LLP, as Lead Co-Counsel to the Official Committee
                   of Unsecured Creditors of Yellow Corporation, et al. for the Period September 1,
                   2023 to September 30, 2023 [Filed: 12/21/23] (Docket No. 1423)

         F.        Third Monthly Fee Application of Akin Gump Strauss Hauer & Feld LLP, as
                   Lead Co-Counsel to the Official Committee of Unsecured Creditors of Yellow
                   Corporation, et al. for the Period October 1, 2023 to October 31, 2023 [Filed:
                   12/1/23] (Docket No. 1259)

         G.        Certificate of No Objection Regarding Third Monthly Fee Application of Akin
                   Gump Strauss Hauer & Feld LLP, as Lead Co-Counsel to the Official Committee
                   of Unsecured Creditors of Yellow Corporation, et al. for the Period October 1,
                   2023 to October 31, 2023 [Filed: 12/27/23] (Docket No. 1498)

         Status: This matter will go forward.

7.       First Interim Fee Application of Benesch, Friedlander, Coplan & Aronoff LLP, for
         Compensation for Services Rendered and Reimbursement of Expenses Incurred as
         Delaware Counsel to the Official Committee of Unsecured Creditors for the Period
         August 22, 2023 to October 31, 2023 [Filed: 12/22/23] (Docket No. 1479)

         Response Deadline: January 12, 2024 at 4:00 p.m. (ET).

         Responses Received: Informal comments from the Office of the United States Trustee.


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         Related Documents:

         A.        [Withdrawn] Certificate of No Objection Regarding First Interim Fee Application
                   of Benesch, Friedlander, Coplan & Aronoff LLP, for Compensation for Services
                   Rendered and Reimbursement of Expenses Incurred as Delaware Counsel to the
                   Official Committee of Unsecured Creditors for the Period August 22, 2023 to
                   October 31, 2023 [Filed: 1/16/24] (Docket No. 1759)

                   i.           Notice of Withdrawal of D.I. 1759 [Filed: 1/16/24] (Docket No. 1761)

         B.        First Monthly Fee Application of Benesch, Friedlander, Coplan & Aronoff LLP
                   for Compensation for Services Rendered and Reimbursement of Expenses
                   Incurred as Delaware Counsel to the Official Committee of Unsecured Creditors
                   for the Period August 22, 2023 to August 31, 2023 [Filed: 10/20/23] (Docket No.
                   890)

         C.        Certificate of No Objection Regarding First Monthly Fee Application of Benesch,
                   Friedlander, Coplan & Aronoff LLP for Compensation for Services Rendered and
                   Reimbursement of Expenses Incurred as Delaware Counsel to the Official
                   Committee of Unsecured Creditors for the Period August 22, 2023 to August 31,
                   2023 [Filed: 11/14/23] (Docket No. 1138)

         D.        Second Monthly Fee Application of Benesch, Friedlander, Coplan & Aronoff
                   LLP, for Compensation for Services Rendered and Reimbursement of Expenses
                   Incurred as Delaware Counsel to the Official Committee of Unsecured Creditors
                   for the Period from September 1, 2023 Through September 30, 2023 [Filed:
                   11/14/23] (Docket No. 1121)

         E.        Certificate of No Objection Regarding Second Monthly Fee Application of
                   Benesch, Friedlander, Coplan & Aronoff LLP, for Compensation for Services
                   Rendered and Reimbursement of Expenses Incurred as Delaware Counsel to the
                   Official Committee of Unsecured Creditors for the Period from September 1,
                   2023 Through September 30, 2023 [Filed: 12/5/23] (Docket No. 1270)

         F.        Third Monthly Fee Application of Benesch, Friedlander, Coplan & Aronoff LLP
                   for Compensation for Services Rendered and Reimbursement of Expenses
                   Incurred as Delaware Counsel to the Official Committee of Unsecured Creditors
                   for the Period October 1, 2023 to October 31, 2023 [Filed: 11/29/23] (Docket No.
                   1246)

         G.        Certificate of No Objection Regarding Third Monthly Fee Application of
                   Benesch, Friedlander, Coplan & Aronoff LLP for Compensation for Services
                   Rendered and Reimbursement of Expenses Incurred as Delaware Counsel to the
                   Official Committee of Unsecured Creditors for the Period October 1, 2023 to
                   October 31, 2023 [Filed: 12/21/23] (Docket No. 1425)




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         H.        Certification of Counsel Regarding First Interim Fee Application of Benesch,
                   Friedlander, Coplan & Aronoff LLP, for Compensation for Services Rendered
                   and Reimbursement of Expenses Incurred as Delaware Counsel to the Official
                   Committee of Unsecured Creditors for the Period August 22, 2023 to October 31,
                   2023 [Filed: 1/16/24] (Docket No. 1762)

         Status: This matter will go forward.

8.       First Interim Fee Application of Miller Buckfire for Compensation for Services Rendered
         and Reimbursement of Expenses for the Period August 21, 2023 to October 31, 2023
         [Filed: 12/22/23] (Docket No. 1480)

         Response Deadline: January 12, 2024 at 4:00 p.m. (ET).

         Responses Received: None.

         Related Documents:

         A.        Certificate of No Objection Regarding First Interim Fee Application of Miller
                   Buckfire for Compensation for Services Rendered and Reimbursement of
                   Expenses for the Period August 21, 2023 to October 31, 2023 [Filed: 1/16/24]
                   (Docket No. 1758)

         B.        First Monthly Fee Application of Miller Buckfire for Compensation for Services
                   Rendered and Reimbursement of Expenses for the Period August 21, 2023 to
                   August 31, 2023 [Filed: 10/20/23] (Docket No. 893)

         C.        Certificate of No Objection Regarding First Monthly Fee Application of Miller
                   Buckfire for Compensation for Services Rendered and Reimbursement of
                   Expenses for the Period August 21, 2023 to August 31, 2023 [Filed: 11/14/23]
                   (Docket No. 1139)

         D.        Second Monthly Fee Application of Miller Buckfire for Compensation for
                   Services Rendered and Reimbursement of Expenses Incurred for the Period
                   September 1, 2023 to September 30, 2023 [Filed: 12/5/23] (Docket No. 1275)

         E.        Certificate of No Objection Regarding Second Monthly Fee Application of Miller
                   Buckfire for Compensation for Services Rendered and Reimbursement of
                   Expenses Incurred for the Period September 1, 2023 to September 30, 2023
                   [Filed: 12/27/23] (Docket No. 1501)

         F.        Third Monthly Fee Application of Miller Buckfire for Compensation for Services
                   Rendered and Reimbursement of Expenses for the Period October 1, 2023 to
                   October 31, 2023 [Filed: 12/22/23] (Docket No. 1482)

         G.        Certificate of No Objection Regarding Third Monthly Fee Application of Miller
                   Buckfire for Compensation for Services Rendered and Reimbursement of
                   Expenses for the Period October 1, 2023 to October 31, 2023 [Filed: 1/6/24]

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                   (Docket No. 1760)

         Status: This matter will go forward.

9.       First Interim Fee Application of Huron Consulting Group, Inc., Financial Advisor to the
         Official Committee of Unsecured Creditors, for Allowance of Compensation for Services
         Rendered and Reimbursement of Expenses for the Period August 21, 2023 to October 31,
         2023 [Filed: 12/22/23] (Docket No. 1481)

         Response Deadline: January 12, 2024 at 4:00 p.m. (ET).

         Responses Received: None.

         Related Documents:

         A.        Certificate of No Objection First Interim Fee Application of Huron Consulting
                   Group, Inc., Financial Advisor to the Official Committee of Unsecured Creditors,
                   for Allowance of Compensation for Services Rendered and Reimbursement of
                   Expenses for the Period August 21, 2023 to October 31, 2023 [Filed: 1/16/24]
                   (Docket No. 1757)

         B.        First Monthly Fee Application of Huron Consulting Services LLC, as Financial
                   Advisor to the Official Committee of Unsecured Creditors of Yellow Corporation,
                   et al. for the Period August 21, 2023 to August 31, 2023 [Filed: 10/20/23]
                   (Docket No. 894)

         C.        Certificate of No Objection Regarding First Monthly Fee Application of Huron
                   Consulting Services LLC, as Financial Advisor to the Official Committee of
                   Unsecured Creditors of Yellow Corporation, et al. for the Period August 21, 2023
                   to August 31, 2023 [Filed: 11/14/23] (Docket No. 1140)

         D.        Second Monthly Fee Application of Huron Consulting Services LLC, as Financial
                   Advisor to the Official Committee of Unsecured Creditors of Yellow Corporation,
                   et al. for the Period September 1, 2023 to September 30, 2023 [Filed: 11/29/23]
                   (Docket No. 1245)

         E.        Certificate of No Objection Regarding Second Monthly Fee Application of Huron
                   Consulting Services LLC, as Financial Advisor to the Official Committee of
                   Unsecured Creditors of Yellow Corporation, et al. for the Period September 1,
                   2023 to September 30, 2023 [Filed: 12/21/23] (Docket No. 1424)

         F.        Third Monthly Fee Application of Huron Consulting Services LLC, as Financial
                   Advisor to the Official Committee of Unsecured Creditors of Yellow Corporation,
                   et al for the Period October 1, 2023 to October 31, 2023 [Filed: 12/1/23] (Docket
                   No. 1260)

         G.        Certificate of No Objection Regarding Third Monthly Fee Application of Huron
                   Consulting Services LLC, as Financial Advisor to the Official Committee of

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                   Unsecured Creditors of Yellow Corporation, et al for the Period October 1, 2023
                   to October 31, 2023 [Filed: 12/27/23] (Docket No. 1500)

         Status: This matter will go forward.

10.      First Interim Fee Application of Goodmans LLP as Canadian Restructuring Counsel to
         the Debtors and Debtors in Possession for Payment of Compensation and Reimbursement
         of Expenses for the Period From August 6, 2023 Through October 31, 2023 [Filed:
         12/27/23] (Docket No. 1502)

         Response Deadline: January 17, 2024 at 4:00 p.m. (ET).

         Responses Received: None.

         Related Documents:

         A.        Certification of No Objection First Interim Fee Application of Goodmans LLP as
                   Canadian Restructuring Counsel to the Debtors and Debtors in Possession for
                   Payment of Compensation and Reimbursement of Expenses for the Period From
                   August 6, 2023 Through October 31, 2023 [Filed: 1/18/24] (Docket No. 1806)

         B.        First Monthly Fee Application of Goodmans LLP as Canadian Restructuring
                   Counsel to the Debtors and Debtors in Possession for Payment of Compensation
                   and Reimbursement of Expenses for the Period August 6, 2023 to August 31,
                   2023 [Filed: 12/27/23] (Docket No. 1494)

         C.        Certification of No Objection Regarding First Monthly Fee Application of
                   Goodmans LLP as Canadian Restructuring Counsel to the Debtors and Debtors in
                   Possession for Payment of Compensation and Reimbursement of Expenses for the
                   Period August 6, 2023 to August 31, 2023 [Filed: 1/17/24] (Docket No. 1803)

         D.        Second Monthly Fee Application of Goodmans LLP as Canadian Restructuring
                   Counsel to the Debtors and Debtors in Possession for Payment of Compensation
                   and Reimbursement of Expenses for the Period September 1, 2023 to September
                   30, 2023 [Filed: 12/27/23] (Docket No. 1495)

         E.        Certification of No Objection Regarding Second Monthly Fee Application of
                   Goodmans LLP as Canadian Restructuring Counsel to the Debtors and Debtors in
                   Possession for Payment of Compensation and Reimbursement of Expenses for the
                   Period September 1, 2023 to September 30, 2023 [Filed: 1/17/24] (Docket No.
                   1804)

         F.        Third Monthly Fee Application of Goodmans LLP as Canadian Restructuring
                   Counsel to the Debtors and Debtors in Possession for Payment of Compensation
                   and Reimbursement of Expenses for the Period October 1, 2023 to October 31,
                   2023 [Filed: 12/27/23] (Docket No. 1496)



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         G.        Certification of No Objection Regarding Third Monthly Fee Application of
                   Goodmans LLP as Canadian Restructuring Counsel to the Debtors and Debtors in
                   Possession for Payment of Compensation and Reimbursement of Expenses for the
                   Period October 1, 2023 to October 31, 2023 [Filed: 1/18/24] (Docket No. 1806)

         Status: This matter will go forward.

11.      First Interim Fee Application of Kirkland & Ellis LLP and Kirkland & Ellis International
         LLP, Attorneys for the Debtors and Debtors in Possession, for the Interim Fee Period
         from August 6, 2023 Through and Including October 31, 2023 [Filed: 12/29/23] (Docket
         No. 1548)

         Response Deadline: January 19, 2024 at 4:00 p.m. (ET).

         Responses Received: None.

         Related Documents:

         A.        Certification of Counsel Regarding First Interim Fee Application of Kirkland &
                   Ellis LLP and Kirkland & Ellis International LLP, Attorneys for the Debtors and
                   Debtors in Possession, for the Interim Fee Period from August 6, 2023 Through
                   and Including October 31, 2023 [Filed: 1/19/24] (Docket No. 1836)

         B.        First Monthly Fee Application of Kirkland & Ellis LLP and Kirkland & Ellis
                   International LLP, Attorneys for the Debtors and Debtors in Possession, for the
                   Period from August 6, 2023 Through and Including August 31, 2023 [Filed:
                   10/17/23] (Docket No. 858)

         C.        Certification of No Objection Regarding First Monthly Fee Application of
                   Kirkland & Ellis LLP and Kirkland & Ellis International LLP, Attorneys for the
                   Debtors and Debtors in Possession, for the Period from August 6, 2023 Through
                   and Including August 31, 2023 [Filed: 11/10/23] (Docket No. 1125)

         D.        Second Monthly Fee Application of Kirkland & Ellis LLP and Kirkland & Ellis
                   International LLP, Attorneys for the Debtors and Debtors in Possession, for the
                   Period from September 1, 2023 Through and Including September 30, 2023
                   [Filed: 11/1/23] (Docket No. 1224)

         E.        Certification of No Objection Regarding Second Monthly Fee Application of
                   Kirkland & Ellis LLP and Kirkland & Ellis International LLP, Attorneys for the
                   Debtors and Debtors in Possession, for the Period from September 1, 2023
                   Through and Including September 30, 2023 [Filed: 12/14/23] (Docket No. 1369)

         F.        Third Monthly Fee Application of Kirkland & Ellis LLP and Kirkland & Ellis
                   International LLP, Attorneys for the Debtors and Debtors in Possession, for the
                   Period from September 1, 2023 Through and Including September 30, 2023
                   [Filed: 12/22/23] (Docket No. 1484)


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         G.        Certification of No Objection Regarding Third Monthly Fee Application of
                   Kirkland & Ellis LLP and Kirkland & Ellis International LLP, Attorneys for the
                   Debtors and Debtors in Possession, for the Period from September 1, 2023
                   Through and Including September 30, 2023 [Filed: 1/19/24] (Docket No. 1839)

         Status: This matter will go forward.

Dated: January 19, 2024
       Wilmington, Delaware


/s/ Peter J. Keane
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